     Case 4:21-cr-00009 Document 290 Filed on 09/07/22 in TXSD Page 1 of 1
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                             September 07, 2022
                 IN THE UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


UNITED STATES OF AMERICA                §
                                        §
v.                                      §         Criminal No. 4:21-cr-00009
                                        §
ROBERT T. BROCKMAN                      §


           [PROPOSED] ORDER OF DISMISSAL OF INDICTMENT

      The Unopposed Motion for Dismissal of Indictment, made by defense counsel based

on the death of the defendant, is HEREBY GRANTED.

      So ORDERED this 7th
                      __ day of September, 2022.




                                             G
                                             George C.
                                                    C Hanks,
                                                       H k Jr. J
                                             United States District Judge
